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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

   WARNER RECORDS, INC., et al.,

                  Plaintiffs,                       Case No. 2:23-cv-00576-JRG-RSP

          v.                                        JURY TRIAL DEMANDED

   ALTICE USA, INC., et al.,                        ORAL ARGUMENT REQUESTED

                  Defendants.



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                       in Support of Defendants’ Motion to Transfer Venue

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